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                                                      APPENDIX B

                                                                           REQUEST FOR
 FACT                                                                                                      SUPPORTING
                                 FACT                                       ADMISSION
NUMBER                                                                                                      EVIDENCE
                                                                              (Exhibit 9)
  1      On August 12, 2017, Mr. Fields slowly proceeded in         No. 38 - Admit that, on          Exhibits 16, 17, and 18.
         his Dodge Challenger down Fourth Street in                 August 12, 2017, you slowly
         Charlottesville, Virginia, toward a crowd of pedestrians   proceeded in your Dodge
         located at the intersection of Fourth Street and East      Challenger down Fourth
         Water Street, and observed the crowd while idling in       Street toward a crowd of
         his vehicle.                                               pedestrians located at the
                                                                    intersection of Fourth Street
                                                                    and East Water Street, and
                                                                    observed the crowd while
                                                                    idling in your vehicle.
  2      On August 12, 2017, after observing the crowd of           No. 39 - Admit that, on          Exhibits 16, 17, and 18.
         pedestrians at Fourth Street and East Water Street, Mr.    August 12, 2017, after
         Fields slowly reversed his Dodge Challenger back up        observing the crowd of
         Fourth Street toward the top of the hill, near the         pedestrians at Fourth Street
         intersection of Fourth Street and East Market Street.      and East Water Street, you
                                                                    slowly reversed your Dodge
                                                                    Challenger back up Fourth
                                                                    Street toward the top of the
                                                                    hill, near the intersection of
                                                                    Fourth Street and East
                                                                    Market Street.




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                                                                          REQUEST FOR
 FACT                                                                                                  SUPPORTING
                                  FACT                                     ADMISSION
NUMBER                                                                                                   EVIDENCE
                                                                             (Exhibit 9)
  3      On August 12, 2017, Mr. Fields rapidly accelerated his    No. 40 - Admit that, on       Exhibits 16, 17, and 18.
         Dodge Challenger down Fourth Street towards the           August 12, 2017, you
         intersection of Fourth Street and East Water Street,      rapidly accelerated your
         running through a stop sign and across a raised           Dodge Challenger down
         pedestrian mall, and drove directly into a crowd of       Fourth Street towards the
         pedestrians.                                              intersection of Fourth Street
                                                                   and East Water Street,
                                                                   running through a stop sign
                                                                   and across a raised
                                                                   pedestrian mall, and drove
                                                                   directly into a crowd of
                                                                   pedestrians.
  4      On August 12, 2017, after Mr. Fields hit a crowd of       No. 41 - Admit that, on       Exhibits 16, 17, and 18.
         pedestrians with his Dodge Challenger, Mr. Fields         August 12, 2017, after you
         struck a parked vehicle near the intersection of Fourth   hit a crowd of pedestrians
         Street and East Water Street.                             with your Dodge Challenger,
                                                                   you struck a stopped vehicle
                                                                   near the intersection of
                                                                   Fourth Street and East Water
                                                                   Street.
  5      On August 12, 2017, after striking another vehicle with   No. 42 - Admit that, on       Exhibits 16, 17, and 18.
         his Dodge Challenger, Mr. Fields rapidly reversed his     August 12, 2017, after
         car and fled the scene.                                   striking another vehicle with
                                                                   your Dodge Challenger, you
                                                                   rapidly reversed your car
                                                                   and fled the scene.




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                                                                           REQUEST FOR
 FACT                                                                                                       SUPPORTING
                                   FACT                                      ADMISSION
NUMBER                                                                                                       EVIDENCE
                                                                               (Exhibit 9)
  6      On August 12, 2017, Mr. Fields drove into a crowd of        No. 43 - Admit that, on          Exhibits 16, 17, and 18.
         pedestrians because of the actual or perceived race,        August 12, 2017, you drove
         color, religion, and/or national original of individuals in into a crowd of pedestrians
         the crowd.                                                  because of the actual or
                                                                     perceived race, color,
                                                                     religion, and/or national
                                                                     original of individuals in the
                                                                     crowd.
  7      On August 12, 2017, Mr. Fields intentionally drove his No. 44 - Admit that, on               Exhibits 16, 17, and 18.
         Dodge Challenger towards a group of pedestrians in          August 12, 2017, you
         Charlottesville, Virginia.                                  intentionally drove your
                                                                     Dodge Challenger towards a
                                                                     group of pedestrians in
                                                                     Charlottesville, Virginia.
  8      On August 12, 2017, Elizabeth Sines was in the crowd        No. 45 - Admit that, on          Exhibits 16, 17, and 18.
         towards which Mr. Fields intentionally drove his Dodge August 12, 2017, you
         Challenger.                                                 intentionally drove your
                                                                     Dodge Challenger towards
                                                                     Elizabeth Sines.
  9      On August 12, 2017, Marissa Blair was in the crowd          No. 46 - Admit that, on          Exhibits 16, 17, and 18.
         towards which Mr. Fields intentionally drove his Dodge August 12, 2017, you
         Challenger.                                                 intentionally drove your
                                                                     Dodge Challenger towards
                                                                     Marissa Blair.
  10     On August 12, 2017, April Muniz was in the crowd            No. 47 - Admit that, on          Exhibits 16, 17, and 18.
         towards which Mr. Fields intentionally drove his Dodge August 12, 2017, you
         Challenger.                                                 intentionally drove your
                                                                     Dodge Challenger towards
                                                                     April Muniz.


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                                                                      REQUEST FOR
 FACT                                                                                               SUPPORTING
                                   FACT                                 ADMISSION
NUMBER                                                                                               EVIDENCE
                                                                         (Exhibit 9)
  11     On August 12, 2017, Marcus Martin was in the crowd     No. 48 - Admit that, on       Exhibits 16, 17, and 18.
         towards which Mr. Fields intentionally drove his Dodge August 12, 2017, you
         Challenger.                                            intentionally drove your
                                                                Dodge Challenger towards
                                                                Marcus Martin.
  12     On August 12, 2017, Natalie Romero was in the crowd No. 49 - Admit that, on          Exhibits 16, 17, and 18.
         towards which Mr. Fields intentionally drove his Dodge August 12, 2017, you
         Challenger.                                            intentionally drove your
                                                                Dodge Challenger towards
                                                                Natalie Romero.
  13     On August 12, 2017, Chelsea Alvarado was in the        No. 50 - Admit that, on       Exhibits 16, 17, and 18.
         crowd towards which Mr. Fields intentionally drove his August 12, 2017, you
         Dodge Challenger.                                      intentionally drove your
                                                                Dodge Challenger towards
                                                                Chelsea Alvarado.
  14     On August 12, 2017, Thomas Baker was in the crowd      No. 51 - Admit that, on       Exhibits 16, 17, and 18.
         towards which Mr. Fields intentionally drove his Dodge August 12, 2017, you
         Challenger.                                            intentionally drove your
                                                                Dodge Challenger towards
                                                                Thomas Baker.
  15     On August 12, 2017, Mr. Fields intentionally drove his No. 52 - Admit that, on       Exhibits 16, 17, and 18.
         Dodge Challenger into a group of pedestrians in        August 12, 2017, you
         Charlottesville, Virginia.                             intentionally drove your
                                                                Dodge Challenger into a
                                                                group of pedestrians in
                                                                Charlottesville, Virginia.
  16     On August 12, 2017, Mr. Fields struck a group of       No. 53 - Admit that, on       Exhibits 16, 17, and 18.
         pedestrians with his Dodge Challenger.                 August 12, 2017, you struck
                                                                a group of pedestrians with
                                                                your Dodge Challenger.

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                                                                      REQUEST FOR
 FACT                                                                                               SUPPORTING
                                FACT                                    ADMISSION
NUMBER                                                                                               EVIDENCE
                                                                          (Exhibit 9)
  17     On August 12, 2017, Mr. Fields struck Marcus Martin    No. 57 - Admit that, on       Exhibits 16, 17, and 18.
         with his Dodge Challenger.                             August 12, 2017, you struck
                                                                Marcus Martin with your
                                                                Dodge Challenger.
  18     On August 12, 2017, Mr. Fields struck Natalie Romero   No. 58 - Admit that, on       Exhibits 16, 17, and 18.
         with his Dodge Challenger.                             August 12, 2017, you struck
                                                                Natalie Romero with your
                                                                Dodge Challenger.
  19     On August 12, 2017, Mr. Fields struck Chelsea          No. 59 - Admit that, on       Exhibits 16, 17, and 18.
         Alvarado with his Dodge Challenger.                    August 12, 2017, you struck
                                                                Chelsea Alvarado with your
                                                                Dodge Challenger.
  20     On August 12, 2017, Mr. Fields struck Thomas Baker     No. 60 - Admit that, on       Exhibits 16, 17, and 18.
         with his Dodge Challenger.                             August 12, 2017, you struck
                                                                Thomas Baker with your
                                                                Dodge Challenger.
  21     On August 12, 2017, Mr. Fields caused injury to        No. 61 - Admit that, on       Exhibits 16, 17, and 18.
         pedestrians in Charlottesville, Virginia.              August 12, 2017, you caused
                                                                injury to pedestrians in
                                                                Charlottesville, Virginia.
  22     On August 12, 2017, Mr. Fields caused emotional        No. 62 - Admit that, on       Exhibits 16, 17, and 18.
         injury to Elizabeth Sines.                             August 12, 2017, you caused
                                                                injury to Elizabeth Sines.
  23     On August 12, 2017, Mr. Fields caused emotional        No. 63 - Admit that, on       Exhibits 16, 17, and 18.
         injury to Marissa Blair.                               August 12, 2017, you caused
                                                                injury to Marissa Blair.
  24     On August 12, 2017, Mr. Fields caused emotional        No. 64 - Admit that, on       Exhibits 16, 17, and 18.
         injury to April Muniz.                                 August 12, 2017, you caused
                                                                injury to April Muniz.


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                                                                            REQUEST FOR
 FACT                                                                                                        SUPPORTING
                                  FACT                                        ADMISSION
NUMBER                                                                                                        EVIDENCE
                                                                                (Exhibit 9)
  25     On August 12, 2017, Mr. Fields caused physical and           No. 65 - Admit that, on          Exhibits 16, 17, and 18.
         emotional injury to Marcus Martin.                           August 12, 2017, you caused
                                                                      injury to Marcus Martin.
  26     On August 12, 2017, Mr. Fields caused physical and           No. 66 - Admit that, on          Exhibits 16, 17, and 18.
         emotional injury to Natalie Romero.                          August 12, 2017, you caused
                                                                      injury to Natalie Romero.
  27     On August 12, 2017, Mr. Fields caused physical and           No. 67 - Admit that, on          Exhibits 16, 17, and 18.
         emotional injury to Chelsea Alvarado.                        August 12, 2017, you caused
                                                                      injury to Chelsea Alvarado.
  28     On August 12, 2017, Mr. Fields caused physical and           No. 68 - Admit that, on          Exhibits 16, 17, and 18.
         emotional injury to Thomas Baker.                            August 12, 2017, you caused
                                                                      injury to Thomas Baker.
  29     Mr. Fields was not in reasonable apprehension of death       No. 69 - Admit that, on          Exhibits 16, 17, and 18.
         or great bodily harm prior to driving his Dodge              August 12, 2017, you were
         Challenger into a group of pedestrians.                      not in reasonable
                                                                      apprehension of death or
                                                                      great bodily harm.
  30     Mr. Fields did not retreat from a threat of death or great   No. 70 - Admit that, on          Exhibits 16, 17, and 18.
         bodily harm and announce his desire for peace prior to       August 12, 2017, you did not
         driving his Dodge Challenger into a group of                 retreat from a threat of death
         pedestrians.                                                 or great bodily harm and
                                                                      announce your desire for
                                                                      peace.




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                                                                            REQUEST FOR
 FACT                                                                                                      SUPPORTING
                                  FACT                                        ADMISSION
NUMBER                                                                                                      EVIDENCE
                                                                               (Exhibit 9)
  31     Mr. Fields striking a crowd of pedestrians with his         No. 71 - Admit that you         Exhibits 16, 17, and 18.
         Dodge Challenger was not a reasonably apparent              striking a crowd of
         necessity to preserve his life or save himself from great   pedestrians with your Dodge
         bodily harm.                                                Challenger was not a
                                                                     reasonably apparent
                                                                     necessity to preserve your
                                                                     life or save yourself from
                                                                     great bodily harm.
  32     Mr. Fields pled guilty to twenty-nine (29) counts of        No. 74 - Admit that you pled    Exhibits 16, 17, and 18.
         violating 18 U.S.C. § 249(a)(1) because he is, in fact,     guilty to twenty-nine (29)
         guilty of what was charged in those counts.                 counts of violating 18 U.S.C.
                                                                     § 249(a)(1) because you are,
                                                                     in fact, guilty of what was
                                                                     charged in those counts.
  33     Mr. Fields has espoused violence against African            No. 77 - Admit that you         Exhibits 16, 17, and 18.
         Americans.                                                  have espoused violence
                                                                     against African Americans.
  34     Mr. Fields has espoused violence against Jewish             No. 78 - Admit that you         Exhibits 16, 17, and 18.
         people.                                                     have espoused violence
                                                                     against Jewish people.
  35     Mr. Fields has espoused violence against members of         No. 79 - Admit that you         Exhibits 16, 17, and 18.
         racial, ethnic, and religious groups that he perceived to   have espoused violence
         be non-white and their supporters.                          against members of racial,
                                                                     ethnic, and religious groups
                                                                     that you perceived to be non-
                                                                     white.




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                                                                           REQUEST FOR
 FACT                                                                                                     SUPPORTING
                                  FACT                                       ADMISSION
NUMBER                                                                                                      EVIDENCE
                                                                              (Exhibit 9)
  36     When Mr. Fields hit pedestrians with his Dodge              No. 123 - Admit that when      Exhibits 16, 17, and 18.
         Challenger on August 12, 2017, he was motivated by          you hit pedestrians with your
         animosity towards non-white individuals and their           Dodge Challenger on August
         supporters.                                                 12, 2017, you were
                                                                     motivated by animosity
                                                                     towards non-white
                                                                     individuals.
  37     Mr. Fields could have prevented himself from                No. 137 - Admit that you       Exhibits 16, 17, and 18.
         committing violence at the Unite the Right rally that       could have prevented
         took place on August 12, 2017 in Charlottesville,           yourself from committing
         Virginia.                                                   violence at the Unite the
                                                                     Right rally that took place on
                                                                     August 12, 2017 in
                                                                     Charlottesville, Virginia.
  38     Mr. Fields created two Discord accounts in July 2017.                                      Exhibit 7

                                                                                                                ); and

                                                                                                    Exhibit 8


                                                                                                             ).
  39     Mr. Fields refused to provide Plaintiffs with access to                                    See Mot. at pp. 6, 15.
         his communications from the Discord accounts, in
         violation of a Court order to do so, and he refused to do
         so knowing that Plaintiffs have alleged that Defendants
         used Discord to plan racially-motivated violence at the
         Unite the Right Rally.




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                                                                  REQUEST FOR
 FACT                                                                                   SUPPORTING
                                  FACT                             ADMISSION
NUMBER                                                                                   EVIDENCE
                                                                    (Exhibit 9)
  40     Mr. Fields refused to testify at a deposition by                         See Mot. at pp. 6-7, 10, 13,
         Plaintiffs’ counsel.                                                     15.


  41     Mr. Fields anticipated that there would be violence at                   Exhibit 19
         the Unite the Right Rally.

                                                                                          );

                                                                                  Exhibit 20 (same); and

                                                                                  Exhibit 21 (




                                                                                               ).
  42     Mr. Fields entered into an agreement with one or more                    Exhibit 7
         co-conspirators to engage in racially-motivated
         violence in Charlottesville, Virginia on August 11 and                               );
         12, 2017.
                                                                                  Exhibit 8


                                                                                              );

                                                                                  See Mot. at pp. 5, 6, 12

                                                                                                         and
                                                                                  has refused to sign the SCA

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                                                                 REQUEST FOR
 FACT                                                                                  SUPPORTING
                                 FACT                             ADMISSION
NUMBER                                                                                  EVIDENCE
                                                                   (Exhibit 9)
                                                                                 consents allowing Plaintiffs
                                                                                 to inspect his Discord
                                                                                 records);

                                                                                 ECF No. 557 ¶¶ 70-82.
                                                                                 (Defendants and others
                                                                                 organized the Unite the
                                                                                 Right Rally on Discord);

                                                                                 Exhibit 9 at Response to
                                                                                 Request for Admission No.
                                                                                 150 (Vanguard America
                                                                                 communicated with Fields
                                                                                 after the Rally); and

                                                                                 Exhibits 22, 23, 24 (




                                                                                                     ).
  43     Mr. Fields was motivated by animus against racial                       Exhibit 18. See also supra
         minorities, Jewish people, and their supporters when                    Evidence supporting Fact
         conspiring to engage in acts of intimidation and                        No. 41.
         violence on August 12, 2017 in Charlottesville,
         Virginia.
  44     It was reasonably foreseeable to Mr. Fields and                         See supra Evidence
         intended by Mr. Fields that co-conspirators would                       supporting Fact No. 41.
         commit acts of racially-motivated violence and
         intimidation on August 11, 2017.

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                                                                   REQUEST FOR
 FACT                                                                                    SUPPORTING
                                 FACT                               ADMISSION
NUMBER                                                                                    EVIDENCE
                                                                     (Exhibit 9)
  45     It was reasonably foreseeable to Mr. Fields and                           See supra Evidence
         intended by Mr. Fields that co-conspirators would                         supporting Fact No. 41.
         commit acts of racially motivated violence and
         intimidation on August 12, 2017.
  46     Mr. Fields was aware that the crowd gathered at 4th                       Exhibit 18.
         Street and East Water Street on August 12, 2017, was
         composed of counter protesters.
  47     Mr. Fields committed his car attack in furtherance of                     See supra Evidence
         the conspiracy to engage in racially-motivated violence                   supporting Fact No. 41.
         in Charlottesville, Virginia on August 11 and 12, 2017.




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